Case 9:17-cv-80793-RLR Document 44 Entered on FLSD Docket 01/12/2018 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        Case No.: 9:17-cv-80793-ROSENBERG/HOPKINS

  VOIT TECHNOLOGIES, LLC,

         Plaintiff,

  vs.

  CCTV CAMERA PROS, LLC,

         Defendant.
                                                  /

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         PLEASE TAKE NOTICE that, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), VOIT

  Technologies, LLC (“VOIT”) and CCTV Camera Pros, LLC (“CCTV”) (VOIT and CCTV

  together, the “Parties” and each a “Party”) agree and stipulate to the dismissal of this action,

  including all claims and counterclaims, with prejudice. Each Party shall bear its own costs and

  attorneys’ fees. Consistent herewith, the Parties consent to the Court having this case closed for

  administrative purposes.




                                                  1
Case 9:17-cv-80793-RLR Document 44 Entered on FLSD Docket 01/12/2018 Page 2 of 2



  Dated: January 12, 2018.

  Respectfully submitted,                       Respectfully submitted,

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                                                Counsel for CCTV Camera Pros, LLC



                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on January 12, 2018, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF and that service was perfected on all
  counsel of record and interested parties through this system and via email.

                                                 By:     /s/ David Tamaroff
                                                         David F. Tamaroff, Esq.




                                            2
